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     'DWHG May 14, 2018
                                              Honorable Rozella A. Oliver
                                            United States Magistrate Judge
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